196 F.2d 221
    ROESER &amp; PENDLETON, Inc., transferee of part of assets of M-B-K Drilling Company, Inc., dissolved,v.COMMISSIONER OF INTERNAL REVENUE.
    No. 4353.
    United States Court of Appeals Tenth Circuit.
    March 29, 1952.
    
      On Petition to Review the Decision of the Tax Court of the United States, 15 T.C. 966.
      C. D. Ellison, Oklahoma City, Okl., for petitioner.
      Theron Lamar Caudle, Asst. Atty. Gen., Ellis N. Slack, Sp. Asst. to Atty. Gen., Department of Justice, Washington, D. C., and Charles Oliphant, Chief Counsel, and Rollin H. Transue, Sp. Atty., Bureau of Internal Revenue, Washington, D. C., for respondent.
      Before PHILLIPS, Chief Judge, and MURRAH and PICKETT, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed per stipulation on authority, M-B-K Drilling Company, Inc., etc., v. Commissioner of Internal Revenue, 10 Cir., 1952, 194 F.2d 221.
    
    